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                    IN THE UNITED STATES BANKRUPTCY COURT FOR
                       THE EASTERN DISTRICT OF PENNSYLVANIA
                                   (PHILADELPHIA)
 In Re:
       Shaun E. Smith                                Chapter 13

       Debtor                                        Case Number: 18-13107-mdc

Motion of Wilmington Savings Fund Society, FSB, D/B/A Christiana Trust as Trustee for PNPMS
Trust II For Relief from the Automatic Stay under 11 U.S.C. §362(d) With Respect to Property:
                          218 RICHMOND ST, PHILADELPHIA, PA 19125

        Wilmington Savings Fund Society, FSB, D/B/A Christiana Trust as Trustee for PNPMS Trust II,
through its Counsel, Stern & Eisenberg PC, respectfully requests the Court grant its Motion for Relief
and in support thereof respectfully represents as follows:

  1. Movant is Wilmington Savings Fund Society, FSB, D/B/A Christiana Trust as Trustee for
     PNPMS Trust II (hereafter referred to as “Movant”).

   2. Debtor, Shaun E. Smith (hereinafter, “Debtor(s)”), is, upon information and belief, adult
      individual whose last-known address is 218 Richmond Street, Philadelphia, PA 19125.

   3. On September 8, 2006, Shaun Smith, executed and delivered a Note in the principal sum of
      $52,000.00 to Suntrust Mortgage, Inc. A copy of the Note is attached as Exhibit “A” and is
      hereby incorporated by reference.

   4. As security for the repayment of the Note, Shaun Smith executed and delivered a Mortgage to
      Mortgage Electronic Registration Systems Inc., as nominee for Suntrust Mortgage, Inc. The
      Mortgage was duly recorded in the Office of the Recorder of Deeds in and for Philadelphia
      County on February 5, 2007 as Instrument #51626255. A copy of the Mortgage is attached as
      Exhibit “B” and is hereby incorporated by reference.

   5. The Mortgage encumbers Debtor’s real property located at 218 Richmond St, Philadelphia, PA
      19125.

  6. By assignment of mortgage, the loan was ultimately assigned to Wilmington Savings Fund
     Society, FSB, D/B/A Christiana Trust as Trustee for PNPMS Trust II. A true and correct copy of
     the assignment is attached as Exhibit “C” and is hereby incorporated by reference.

  7. Debtor filed the instant Chapter 13 Bankruptcy on May 9, 2018 and, as a result, any state court
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      proceedings were stayed.

  8. It is believed and therefore averred that Debtor filed the instant bankruptcy as an additional delay
     in order to prevent Movant from proceeding with the state court proceedings or otherwise
     institute proceedings as allowed under the Mortgage.

  9. Debtor’s mortgage loan is in default and is currently due for the September 1, 2018 payment and
     each subsequent payment through the date of the motion. Debtor has failed to make the
     following post-petition payments to Movant:

                           POST-PETITION PAYMENTS IN DEFAULT
        Monthly Payments in Default....................... 09/01/2018 to 05/01/2020
        Monthly payments ($290.21 x 21)                       $6,094.41
        Total Amounts Due as of May 20, 2020:                 $6,094.41

  10. In addition, Movant has incurred counsel fees and costs in association with Debtor's default and
      this motion.

  11. As a result of the Debtor's default and failure to make payments or to otherwise adequately
      provide for Movant in the bankruptcy filing, Movant is not adequately protected and is entitled
      to relief.

  12. To the extent the Court does not find that relief is appropriate, then Movant requests that the
      stay be conditioned such that in the event the Debtor(s) fall(s) behind on post-petition payments
      or trustee payments that Movant may receive relief upon default by the Debtor(s) of the terms of
      the conditional order.

  13. Movant requests that the stay of Bankruptcy Rule 4001(a)(3) be waived.

       WHEREFORE, Movant, Wilmington Savings Fund Society, FSB, D/B/A Christiana Trust as
Trustee for PNPMS Trust II, respectfully requests this Court to grant the appropriate relief under 11
U.S.C. §362 from the automatic stay as set forth in the proposed order together with waiver of
Bankruptcy Rule 4001(a)(3).

                                                    Respectfully Submitted:
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